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                                           THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX
                                          LAW DEPARTMENT                                         ALEXANDRA CORSI
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                                                                     November 14, 2023

      BY ECF
      Honorable Cheryl L. Pollak
      United States Magistrate Judge
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201

                      Re:    Doneal Barnes v. City of New York, et al., 23 CV 1070 (AMD) (CLP)

      Your Honor:

              I am a Senior Counsel in the Office of the Hon. Sylvia O. Hinds-Radix, Corporation
      Counsel of the City of New York, and attorney for defendant City of New York in the above-
      referenced matter. In accordance with the Court’s Order to provide Your Honor with an update
      regarding settlement by November 16, 2023, counsel for the parties write jointly to advise that this
      matter has settled. Earlier today, Plaintiff’s counsel was provided with a copy of the necessary
      settlement paperwork; once it returned to my office fully executed, the Stipulation of Settlement
      and Order of Dismissal will be filed for the Court’s endorsement. We thank the Court for its
      assistance in resolving this matter.
                                                                     Respectfully submitted,

                                                                     /s/ Alexandra Corsi
                                                                     Alexandra Corsi
                                                                     Senior Counsel
                                                                     Special Federal Litigation Division


      cc:     By ECF
              Rudy Velez, Esq.
              Attorney for plaintiff

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